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8                           UNITED STATES DISTRICT COURT
9                         EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                 No. 2:09-cr-00094-MCE
12                Plaintiff,
13        v.                                   ORDER TO APPEAR
14   JOSE SALVADOR SANCHEZ-PALOMINO,           Date: October 18, 2010
                                               Time: 9:00 a.m.
15                Defendant.                   Courtroom: 7
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17                                  ----oo0oo----
18        IT IS HEREBY ORDERED that witness DAGOBERTO BAUTISTA-LOPEZ
19   appear in this Court, 501 I Street, Courtroom 7, Sacramento,
20   California 95814 on October 18, 2010, at 9:00 a.m., to testify in
21   this case.     Assistant Federal Defender, Jeffrey Staniels, agreed
22   to arrange for the transportation of witness DAGOBERTO BAUTISTA-
23   LOPEZ for that hearing.
24        IT IS SO ORDERED.
25   Dated:    October 14, 2010
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27                                         ________________________________
                                           MORRISON C. ENGLAND, JR.
28                                         UNITED STATES DISTRICT JUDGE
